                      UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                        CASE NO. 1:20-cv-00954-UA-JLW

 FARHAD AZIMA,                         )
                                       )
             Plaintiff,                )
                                       )
        v.                             )    REPLY IN SUPPORT OF MOTION
                                       )   FOR EXTENSION OF TIME TO FILE
 NICHOLAS DEL ROSSO and                )       RESPONSIVE PLEADING
 VITAL MANAGEMENT                      )
 SERVICES, INC.,                       )
                                       )
             Defendants.               )


      Defendants Nicholas del Rosso and Vital Management Services, Inc. (“VMS”;

collectively, “Defendants”), by and through the undersigned counsel, and pursuant to

Rule 6(b) of the Federal Rules of Civil Procedure and Rule 7.3(h) of the Local Rules

of Civil Practice for the U.S. District Court for the Middle District of North Carolina,

respectfully submit this Reply in Support of their Motion for Extension of Time to

File Responsive Pleading [DE 82].

      1.       Defendants have moved for a thirty-day extension of time through and

including November 11, 2022, within which to respond to the Complaint. [DE 82]

This Court has stated:

      According to Rule 6(b)(1)(A), this court may “for good cause” extend time
      “with or without motion or notice if the court acts, or if a request is made,
      before the original time for its extension expires.” See Bryant v. Smith,
      165 B.R. 176, 182 (W.D. Va. 1994) (“F.R.C.P. 6(b)(1) requires the party
      seeking an enlargement of time simply to ‘demonstrate some
      justification for the issuance of the order.’ An application for an
      extension of time under F.R.C.P. 6(b)(1) ‘normally will be granted in the
      absence of bad faith or prejudice to the adverse party.’ ”) (quoting 4A
      Charles Alan Wright & Arthur R. Miller, FEDERAL PRACTICE AND




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         PROCEDURE § 1165 at 475 (2d ed. 1987)); Peche v. Keller, 1:11CV362,
         2012 WL 2128095, at *6 (M.D.N.C. June 12, 2012) (“[C]ourts have
         described the ‘good cause’ standard as ‘non-rigorous,’ ‘liberal,’ and
         ‘not . . . particularly demanding.’ ”) (citations omitted).

Campbell Sales Grp., Inc. v. Marx, 2012 WL 12893030, at *2 (M.D.N.C. Sept. 28,

2012).

         2.    Plaintiff Farhad Azima has filed a brief opposing Defendants’ Motion for

Extension [DE 83]—despite counsel for Plaintiff acknowledging in an October 6, 2022

email to Defendants’ counsel that such motions for extension would be a normal

“courtesy.”

         3.    In his brief in opposition, Plaintiff contends that this action has “been

pending for two years,” that Defendants have engaged in delay tactics by filing

motions to dismiss and opposing discovery, and that Defendants “once again” seek to

delay by seeking more time to file an Answer to the Complaint. [DE 83]

         4.    However, Plaintiff’s argument ignores the fact that Defendants have

successfully achieved the Court’s dismissal of nine of the eleven claims in the

Complaint, and reasonably sought the dismissal of Plaintiff’s narrowed claims.

Defendants’ successful use of procedural safeguards does not create any undue

prejudice to Plaintiff. As stated in their initial Motion, Defendants are seeking a

reasonable extension to accommodate counsel’s competing client obligations and to

permit Defendants adequate time to analyze the portions of the Complaint that

remain operative considering the Court’s rulings and in light of developments in

related litigation matters that may be relevant to Defendants’ claims and defenses in

this matter.


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      5.    In light of the above, Defendants have presented sufficient justification

for seeking a reasonable extension of the time within which they may respond to the

Complaint, and have similarly established an absence of bad faith in seeking such an

Order.

      Based on the foregoing, Defendants respectfully request that the Court grant

their Motion for a thirty (30) day extension of time to respond to the Complaint,

through and including November 11, 2022.



      This the 10th day of October, 2022.

                                                NELSON MULLINS RILEY &
                                                 SCARBOROUGH LLP

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                           CERTIFICATE OF SERVICE

       I hereby certify that on this 10th day of October, 2022, I electronically filed the
foregoing Reply in Support of Motion for Extension of Time to File
Responsive Pleading with the Clerk of the Court using the CM/ECF system, which
will send electronic notification of filing to the following:

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